                      UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

In re:                                             Chapter 11

Body Contour Ventures, LLC,                        Case No. 19-42510-pjs

                              Debtor.              Hon. Phillip J. Shefferly


               FIRST DAY MOTION FOR AN ORDER AUTHORIZING
                   DEBTORS TO PAY PRE-PETITION WAGES,
                  COMPENSATION, AND EMPLOYEE BENEFITS

         The debtors and debtors-in-possession identified below (collectively,

“Debtors”),1 through proposed counsel, Wolfson Bolton PLLC, for their First

Day Motion For An Order Authorizing Debtors To Pay Pre-Petition Wages,
1
  This Motion is being filed on behalf of Debtors Body Contour Ventures,
LLC, Case No. 19-42510, BCA Acquisitions, LLC, Case No. 19-42511,
American Aesthetic Equipment, LLC, Case No. 19-42512, Knoxville Laser
Spa LLC, Case No. 19-42513, LRX Alexandria, LLC, Case No. 19-42514,
LRX Birmingham, LLC, Case No. 19-42515, LRX Charlotte, LLC, Case No.
19-42516, LRX Chicago, LLC, Case No. 19-42517, LRX Colorado Springs,
LLC, Case No. 19-42518, LRX Dearborn, LLC, Case No. 19-42519, LRX
East Lansing, LLC, Case No. 19-42520, LRX Grand Blanc, LLC, Case No.
19-30413, LRX Hoffman Estates, LLC, Case No. 19-42521, LRX Las Vegas
Summerlin, LLC, Case No. 19-42522, LRX Mesa, LLC, Case No. 19-42523,
LRX Naperville, LLC, Case No. 19-42524, LRX Novi, LLC, Case No.
19-42525, LRX Orland Park, LLC, Case No. 19-42526, LRX
Plymouth-Canton, LLC, Case No. 19-42527, LRX Stone Oak, LLC, Case No.
19-42528, LRX Towson, LLC, Case No. 19-42530, LRX Troy, LLC, Case No.
19-42531, Premier Laser Spa of Greenville LLC, Case No. 19-42532,
Premier Laser Spa of Indianapolis LLC, Case No. 19-42533, Premier Laser
Spa of Louisville LLC, Case No. 19-42534, Premier Laser Spa of Pittsburgh
LLC, Case No. 19-42535, Premier Laser Spa of St. Louis LLC, Case No.
19-42536, and Premier Laser Spa of Virginia LLC, Case No. 19-42537.

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Compensation, And Employee Benefits (“Motion”), state:

                              JURISDICTION AND VENUE

        1.       The Court has jurisdiction over this matter under 28 U.S.C. §§

157 and 1334.

        2.       This is a core proceeding under 28 U.S.C. § 157(b).

        3.       Venue is proper in this district under 28 U.S.C. §§ 1408 and

1409.

        4.       A motion for joint administration of Debtors’ Chapter 11 cases for

procedural purposes only is being filed contemporaneously with this Motion.

To the extent this Motion is granted, Debtors request that any order be

applicable to all of Debtors’ cases.

                                    BACKGROUND

        5.       Debtors each commenced a voluntary case under Chapter 11 of

Title 11 of the United States Code on February 22, 2019 (“Petition Date”).

        6.       Debtors are continuing in possession of their property and are

operating and managing their businesses as debtors-in-possession under

11 U.S.C. §§ 1107(a) and 1108.

        7.       No trustee, examiner, or official committee of unsecured

creditors has been appointed in these Chapter 11 cases.

        8.       Detailed facts about Debtors and the reasons for the


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commencement of their Chapter 11 cases are set forth in the Declaration of

Richard C. Morgan in Support of Chapter 11 Filings, which has been filed

simultaneously with this Motion and is incorporated into this Motion by

reference.

                       DEBTORS’ WORKFORCE, EMPLOYEE
                     OBLIGATIONS, AND EMPLOYEE BENEFITS

         A.      Debtors’ Workforce

        9.       Debtors operate 25 different store locations across the United

States that provide non-surgical cosmetic and weight loss procedures such

as body contouring, skin tightening, and laser hair removal.

        10.      Each of Debtors’ 25 store locations operates with a staff of three

to five employees, led by a store director.

        11.      In the ordinary course of business operations, Debtors directly

employ 80 store employees and 24 corporate employees in the states of

Arizona, Colorado, Illinois, Indiana, Kentucky, Maryland, Michigan, Missouri,

North Carolina, Nevada, Pennsylvania, South Carolina, Tennessee, Texas,

and Virginia (collectively, “Employees”) who work in different capacities for

Debtors, including sales, accounting, management, and skilled labor.

        12.      Of Debtors’ Employees, 43 employees are salaried Employees

(“Salaried Employees”) and the remaining 61 are hourly Employees (“Hourly



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Employees”).

        13.      In addition, Debtors have 12 independent contract workers

(“Contract Workers”) employed as medical directors at some of Debtors’

store locations. While the licensing requirements for Contract Workers

differ from state to state, some store locations are required to have at least

one Contractor Worker given the nature of Debtors’ businesses.

        14.      The Employees’ knowledge and understanding of Debtors’

operations and customer relations are essential to the effective restructuring

of Debtors’ businesses.

        15.      Absent the continued services of the Employees, an effective

restructuring of Debtors would not be possible.

        16.      If pre-petition wage, compensation, benefit, and reimbursement

amounts are not received by Employees in the ordinary course, they will

suffer extreme personal hardship and, in many cases, will be unable to pay

their basic living expenses.

        17.      Moreover, Debtors’ failure to timely pay wages and

compensation would destroy Employee morale and likely result in work

stoppages and sudden and unmanageable Employee turnover, causing

immediate, pervasive, and irreparable damage to Debtors’ on-going

business operations and Debtors’ ability to reorganize.


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        18.      Even a temporary work stoppage could cause Debtors

irreparable harm given Debtors’ business model, which relies upon on-line

marketing initiatives to generate in-store consultations, which in turn result in

the direct selling of products and services by Debtors’ Employees to

customers.

        B.       Employee Obligations

        19.      In the ordinary course of business, Debtors pay and honor

certain amounts to its Employees (collectively, “Employee Obligations”) for,

among other things: (a) Employees’ wages, salaries, and other

compensation including Employee expense reimbursement, (b) federal and

state withholding taxes and other amounts withheld or deducted, including

401(k) and/or Roth deductions and health savings account contributions.

        20.      Debtors pay wages and other compensation to its Salaried

Employees on a bi-monthly basis, which averages approximately $49,000

per pay period.

        21.      Debtors pay wages and other compensation to its store location

Employees on a bi-weekly basis, which averages approximately $155,000

per pay period.

        22.      For purposes of administration and distribution of payroll,

Debtors utilized ADP (“Payroll Provider”) pre-petition as its payroll servicing


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provider for its Employees.

        23.      Debtors then remit gross payroll amounts, which include the

employee portion of all federal and state withholding taxes, employer’s share

of federal, state, and local taxes, as well as voluntary and non-voluntary

Employee deductions, to the Payroll Provider to fund Employee Obligations.

        24.      Debtors’ pay period for the Employees begins on the 1st of every

week and ends on the 15th (“Pay Period”). Hourly Employee wages are paid

1 week in arrears on Friday of each week (“Pay Day”).

        25.      As of the Petition Date, Debtors owes approximately $267,794 to

its Employees on account of accrued, but unpaid wages, salaries, and other

compensation (collectively, “Unpaid Wages and Salaries”). This dollar

amount is inclusive of necessary tax withholding/deductions.

        26.      No individual is owed more than $12,850, the adjusted dollar

amount for pre-petition wages entitled to priority under 11 U.S.C. § 507(a)(4).

        27.      In addition, one Contractor Worker, who oversees five store

locations in her capacity as a medical director, is owed the amount of

$25,248, which amount is included in the Unpaid Wages and Salaries

number set forth above.

        28.      Debtors request authority to pay this Contractor Worker in

connection with payment of the Unpaid Wages and Salaries.


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        C.       Employee Benefits

        29.      In the ordinary course of business operations, Debtors provide

Employees a number of benefits including: (a) 401(k) savings plan; (b) health

savings plan; and (c) other miscellaneous benefits such as employee

expense reimbursement (collectively, “Employee Benefits”).

                 i.     Employee 401(k) Savings and Health Savings Plan

        30.      Debtors’ Employees are eligible to participate in a 401(k) and/or

Roth tax-deferred savings plan and a health savings plan (collectively, the

“Employee Savings Plans”).

        31.      Debtors’ retirement plan is administered and held by the Payroll

Provider.

        32.      Debtors’ health savings account plan is administered and held by

Health Equity.

        33.      The Employee Savings Plan allows Employees to withhold and

designate a portion of their pre-tax income into a 401(k) and/or Roth

tax-deferred savings account and a health savings account.

        34.      As of the Petition Date, Debtors owe accrued but unpaid

Employee Savings Plan contributions in the amount of $9,920.05

(collectively, the “Unpaid Savings Contributions”).




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                 ii.     Expense Reimbursements

        35.      In the ordinary course of business, Debtors’ Employees incur

expenses on behalf of Debtors.

        36.      The expenses directly incurred by Employees for business

purposes are submitted as an expense report with associated

documentation to Monica Jarbow (system controller/accounting) , who

reviews, verifies, and approves the expense reimbursement.

        37.      As of the Petition Date, Debtors owe $193,579 in unpaid and

approved expense reimbursements (“Unpaid Expense Reimbursements”).

        38.      Approximately three-quarters of the Unpaid Expense

Reimbursement is owed to Debtors’ Vice President of Operations, Anthony

Zalungo. Mr. Zalungo is critical to the Debtors’ day-to-day operations of

Debtors in his role managing store employees and coordinating key

performance indicators at each of Debtors’ store locations. Due to the

serious cash crisis experienced by Debtors, Mr. Zalungo advanced monies

on his personal credit card to satisfy critical Debtor expenses and ensure

Debtors’ continued operations.

                                   RELIEF REQUESTED

        39.      In order to continue its business operations for the benefit of all

creditors and to minimize the personal hardship to Debtors’ Employees


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during this critical time, Debtors seeks entry of an order authorizing but not

directing Debtors to:

                 a.     pay and honor all pre-petition Employee Obligations and
                        Employee Benefits, including the Unpaid Wages and
                        Salaries, Unpaid Savings Contributions, and Unpaid
                        Expense Reimbursements (collectively, the “Unpaid
                        Amounts”);

                 b.     continue to maintain and provide all Employee Benefits
                        provided by Debtors in the ordinary course of Debtors’
                        business;

                 c.     pay all Unpaid Amounts required to be paid under, or
                        incident to, the Employee Benefits to the extent any
                        amounts accrued pre-petition and/or accrued post-petition
                        but relate to the period before the Petition Date; and

                 d.     modify, cancel, discontinue, and/or replace, without the
                        need for further notice or Court approval, any policies,
                        plans, offerings, or programs relating to any Employee
                        Obligations or Employee Benefits as Debtors deem
                        appropriate, and to pay any amounts necessary to effect a
                        modification, cancellation, discontinuance, or replacement
                        in the ordinary course of business without the need for
                        further Court approval.

        40.      In order to effectuate the relief requested in this Motion, Debtors

further request that the Payroll Provider, Health Equity, banks, and financial

institutions be authorized and directed to receive, process, honor, and pay

(to the extent sufficient funds are available in the applicable account(s)) all

checks presented for payment and fund electronic payments related to the

Unpaid Amounts, whether the checks were presented or the funds transfer


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requests were submitted before or after the Petition Date.

        41.      The relief requested in this Motion is further supported by the

attached Brief in Support as required by E.D. Mich. LBR 9014-1(f)(5).

                     WAIVER OF FED. R. BANKR. P 6004(a) AND (h)

        42.      Debtors request a waiver of the notice requirements under Fed.

R. Bankr. P. 6004(a) and the fourteen-day stay of an order authorizing the

use, sale, or lease of property under Fed. R. Bankr. P. 6004(h).

                                           NOTICE

        43.      Notice of this Motion has been given to the following parties or

their counsel: (i) the Office of the United States Trustee, (ii) all secured

creditors, (iii) Debtors’ top 30 unsecured creditors, (iv) all parties required

under E.D. Mich. LBR 9013-1, and (v) any other party requesting notice in

these proceedings. In light of the fact that no trustee, examiner, or creditors’

committee has been appointed or formed in these cases, Debtors submit

that no further notice is necessary or required.

        44.      Debtors have not previously requested the relief sought in this

Motion from this or any other court.

        WHEREFORE, Debtors respectfully request that the Court enter an

order, substantially in the form attached as Exhibit 1, granting the relief

requested in the Motion and additional relief that is just and equitable.


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                                           Respectfully submitted,

                                           WOLFSON BOLTON PLLC
                                           Proposed Counsel for Debtors

Dated: February 25, 2019                   By:   /s/ Anthony J. Kochis
                                                 Scott A. Wolfson (P53194)
                                                 Anthony J. Kochis (P72020)
                                                 Thomas J. Kelly (P78754)
                                           3150 Livernois, Suite 275
                                           Troy, MI 48083
                                           Telephone: (248) 247-7105
                                           Facsimile: (248) 247-7099
                                           Email: akochis@wolfsonbolton.com




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EXHIBIT 1 - PROPOSED ORDER

                      UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

  In re:                                            Chapter 11

  Body Contour Ventures, LLC,                       Case No. 19-42510-pjs

                               Debtor.              Hon. Phillip J. Shefferly


           ORDER GRANTING FIRST DAY MOTION FOR AN ORDER
           AUTHORIZING DEBTORS TO PAY PRE-PETITION WAGES,
               COMPENSATION, AND EMPLOYEE BENEFITS

           This matter having come before the Court by the debtors and

  debtors-in-possession identified below (collectively, “Debtors”)1 through

  their First Day Motion For An Order Authorizing Debtors To Pay Pre-

  1
   This Order is applicable to Debtors Body Contour Ventures, LLC, Case
  No. 19-42510, BCA Acquisitions, LLC, Case No. 19-42511, American
  Aesthetic Equipment, LLC, Case No. 19-42512, Knoxville Laser Spa LLC,
  Case No. 19-42513, LRX Alexandria, LLC, Case No. 19-42514, LRX
  Birmingham, LLC, Case No. 19-42515, LRX Charlotte, LLC, Case No. 19-
  42516, LRX Chicago, LLC, Case No. 19-42517, LRX Colorado Springs,
  LLC, Case No. 19-42518, LRX Dearborn, LLC, Case No. 19-42519, LRX
  East Lansing, LLC, Case No. 19-42520, LRX Grand Blanc, LLC, Case No.
  19-30413, LRX Hoffman Estates, LLC, Case No. 19-42521, LRX Las
  Vegas Summerlin, LLC, Case No. 19-42522, LRX Mesa, LLC, Case No.
  19-42523, LRX Naperville, LLC, Case No. 19-42524, LRX Novi, LLC, Case
  No. 19-42525, LRX Orland Park, LLC, Case No. 19-42526, LRX Plymouth-
  Canton, LLC, Case No. 19-42527, LRX Stone Oak, LLC, Case No. 19-
  42528, LRX Towson, LLC, Case No. 19-42530, LRX Troy, LLC, Case No.
  19-42531, Premier Laser Spa of Greenville LLC, Case No. 19-42532,
  Premier Laser Spa of Indianapolis LLC, Case No. 19-42533, Premier Laser
  Spa of Louisville LLC, Case No. 19-42534, Premier Laser Spa of Pittsburgh
  LLC, Case No. 19-42535, Premier Laser Spa of St. Louis LLC, Case No.
  19-42536, and Premier Laser Spa of Virginia LLC, Case No. 19-42537.

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Petition Wages, Compensation, And Employee Benefits (“Motion”);2 the

Court having reviewed the Motion; the Court having found that (a)

jurisdiction to consider the Motion is proper under 28 U.S.C. §§ 157 and

1334; (b) venue is proper before this Court under 28 U.S.C. §§ 1408 and

1409; (c) notice of the Motion was properly provided; (d) the legal and

factual bases set forth in the Motion establish just cause for the relief

requested; and (e) the Court being otherwise fully advised in the premises;

        IT IS HEREBY ORDERED that:

        1.        The Motion is granted.

        2.        Debtors are authorized, but not directed, to:

                  a.     pay and honor all pre-petition Employee Obligations and
                         Employee Benefits, including the Unpaid Wages and
                         Salaries, Unpaid Savings Contributions, and Unpaid
                         Expense Reimbursements (collectively, the “Unpaid
                         Amounts”);

                  b.     continue to maintain and provide all Employee Benefits
                         provided by Debtors in the ordinary course of Debtors’
                         businesses;

                  c.     pay all Unpaid Amounts required to be paid under, or
                         incident to, the Employee Benefits to the extent any
                         amounts accrued pre-petition and/or accrued post-petition
                         but relate to the period before the Petition Date; and

                  d.     modify, cancel, discontinue, and/or replace, without the
                         need for further notice or Court approval, any policies,

2
 Capitalized terms used but not defined in this Order have the meanings
given them in the Motion.

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                        plans, offerings, or programs relating to any Employee
                        Obligations or Employee Benefits as Debtors deem
                        appropriate, and to pay any amounts necessary to effect
                        a modification, cancellation, discontinuance, or
                        replacement in the ordinary course of business without
                        the need for further Court approval.

        3.        The Payroll Provider, Health Equity, and the banks and

financial institutions at which Debtors maintain the accounts that are used

to pay the Unpaid Amounts, are authorized and directed to receive,

process, honor, and pay (to the extent sufficient funds are available in the

applicable account(s)) all checks presented for payment and fund

electronic payments related to the Unpaid Amounts, whether the checks

were presented or the funds transfer requests were submitted before or

after the Petition Date.

        4.        Nothing contained in this Order constitutes, or will be deemed

to constitute, the assumption of any policy, procedure, or executory

contract that may be described or referenced in the Motion.

        5.        The requirements of Fed. R. Bankr. P. 6004(a) are waived.

        6.        The terms of this Order are immediately effective and

enforceable upon its entry.

        7.        This Court retains jurisdiction to hear and determine all matters

arising from the implementation of this Order.




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EXHIBIT 3 - BRIEF IN SUPPORT

                       UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

   In re:                                             Chapter 11

   Body Contour Ventures, LLC,                        Case No. 19-42510-pjs

                      Debtor.                         Hon. Phillip J. Shefferly


           BRIEF IN SUPPORT OF FIRST DAY MOTION FOR AN ORDER
            AUTHORIZING DEBTORS TO PAY PRE-PETITION WAGES,
                  COMPENSATION, AND EMPLOYEE BENEFITS

            The debtors and debtors-in-possession identified below (collectively,

   “Debtors”),1 through proposed counsel, Wolfson Bolton PLLC, for their Brief

   in Support of First Day Motion For An Order Authorizing Debtors To Pay

   1
    This Motion is being filed on behalf of Debtors Body Contour Ventures,
   LLC, Case No. 19-42510, BCA Acquisitions, LLC, Case No. 19-42511,
   American Aesthetic Equipment, LLC, Case No. 19-42512, Knoxville Laser
   Spa LLC, Case No. 19-42513, LRX Alexandria, LLC, Case No. 19-42514,
   LRX Birmingham, LLC, Case No. 19-42515, LRX Charlotte, LLC, Case No.
   19-42516, LRX Chicago, LLC, Case No. 19-42517, LRX Colorado Springs,
   LLC, Case No. 19-42518, LRX Dearborn, LLC, Case No. 19-42519, LRX
   East Lansing, LLC, Case No. 19-42520, LRX Grand Blanc, LLC, Case No.
   19-30413, LRX Hoffman Estates, LLC, Case No. 19-42521, LRX Las
   Vegas Summerlin, LLC, Case No. 19-42522, LRX Mesa, LLC, Case No.
   19-42523, LRX Naperville, LLC, Case No. 19-42524, LRX Novi, LLC, Case
   No. 19-42525, LRX Orland Park, LLC, Case No. 19-42526, LRX Plymouth-
   Canton, LLC, Case No. 19-42527, LRX Stone Oak, LLC, Case No. 19-
   42528, LRX Towson, LLC, Case No. 19-42530, LRX Troy, LLC, Case No.
   19-42531, Premier Laser Spa of Greenville LLC, Case No. 19-42532,
   Premier Laser Spa of Indianapolis LLC, Case No. 19-42533, Premier Laser
   Spa of Louisville LLC, Case No. 19-42534, Premier Laser Spa of Pittsburgh
   LLC, Case No. 19-42535, Premier Laser Spa of St. Louis LLC, Case No.
   19-42536, and Premier Laser Spa of Virginia LLC, Case No. 19-42537.
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Pre-Petition Wages, Compensation, And Employee Benefits, state:

               BASIS FOR RELIEF REQUESTED IN THE MOTION2

        1.         The relief requested in the Motion is authorized under §§

507(a), 363(b), and 105(a) of the Bankruptcy Code.

        2.         The vast majority of Employees rely exclusively on their

compensation to continue to pay their daily living expenses.

        3.         These individuals will be exposed to significant financial

difficulties if Debtors are not permitted to pay the Unpaid Amounts.

        4.         Debtors anticipate that any failure to timely pay pre-petition

wages and compensation would result in a work stoppage.

        5.         If Debtors are unable to honor commitments to fund the Unpaid

Amounts, Debtors anticipate a loss of Employee morale and significant

Employee turnover resulting in business interruptions, decreased quality

control, and increased expenses.

        6.         Accordingly, payment of all Unpaid Amounts is necessary to

preserve Debtors’ value as a going concern and to avoid immediate and

irreparable harm.

        7.         Sections 507(a)(4) and (a)(5) give priority up to $12,850 per

individual for pre-petition claims for wages, salaries, vacation and claims for

2
  Capitalized terms used but not defined have the meanings given to them
in the Motion.
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contributions to employee benefit plans.

        8.         Debtors assert that the pre-petition Employee Obligations are

entitled to priority under § 507(a)(4) and (a)(5) and that no individual

Employee is owed more than $12,850 on account of pre-petition wages.

        9.         Thus, granting the relief requested would affect only the timing,

and not the amount, of the payment of the Employee Obligations and

Employee Benefits - and granting the Motion will not adversely affect

Debtors’ unsecured non-priority creditors.

        10.        Section 363(b)(1) authorizes debtors-in-possession to use

property of the estate other than in the ordinary course of business after

notice and a hearing. In order to obtain approval for the use of estate

assets outside the ordinary course of business, the Debtors must articulate

a valid business justification for the requested use. See, e.g., In re

Ionosphere Clubs, Inc., 98 B.R. 174, 176 (Bankr. S.D.N.Y. 1989).

        11.        Section 105(a) further provides, in pertinent part, that “[t]he

court may issue any order, process, or judgment that is necessary or

appropriate to carry out the provisions of [the Bankruptcy Code].”

        12.        Preserving and protecting Debtors’ business and going-concern

value, retaining its currently-working Employees, and maintaining positive

Employee morale through payment of the Unpaid Amounts are both (a)


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sufficient business justifications to grant the Motion under § 363(b), and (b)

necessary and appropriate to carry out the provisions of the Bankruptcy

Code.

        13.        Sections 1107(a) and 1108 authorize Debtors, as Debtors-in-

possession, to operate Debtors’ business.

        14.        Debtors have the duty “to protect and preserve the estate,

including an operating business’s going-concern value.” In re CoServ,

L.L.C., 273 B.R. 487, 497 (Bankr. N.D. Tex. 2002) (discussing the doctrine

of necessity).

        15.        Without the ability to pay the Unpaid Amounts, Debtors will not

be able to preserve its going concern value.

        16.        The continued service and dedication of the Employees is

critical to Debtors’ reorganization.

        17.        Many courts have recognized the importance of a Debtors’

ability to pay pre-petition wages. See In re Quality Interiors, 127 B.R. 391,

396 (Bankr. N.D. Ohio 1991) (stating that, “[t]his Court often permits the

payment of prepetition wages so that the Debtors-in-possession may

maintain an effective work force, especially where the amount of the

payment is relatively small and where it appears that the wages being paid

would ultimately qualify as priority claims”). Likewise, in In re Ionosphere


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Clubs, Inc., 98 B.R. 174 (Bankr. S.D.N.Y. 1989), the court permitted the

Debtors to pay its current employees’ pre-bankruptcy wages, salaries,

medical benefits, and business expense claims, relying on § 105(a), to

effectuate a restructuring of the Debtors’ finances to provide jobs for its

employees. Id. at 177.

        18.        This Court and other courts routinely permit Debtors to pay pre-

petition wage, salary, expense, and benefit claims if payment is necessary

to effectuate a successful reorganization. See In re Engineered Plastic

Products, Inc., No. 06-42714 (Bankr. E.D. Mich. March 13, 2006); In re

UniBoring Co., Inc., No. 05-58779 (Bankr. E.D. Mich. 2005); Big Buck

Brewing Inc., No. 04-56761 (Bankr. E.D. Mich. 2004); In re Greektown

Holdings, LLC, No. 08-53104 (WSD) (Bankr. E.D. Mich. June 24, 2008); In

re LSC Liquidation, Inc., No. 15-45784 (Bankr. E.D. Mich. April 15, 2015);

In re General Products Corporation, No. 16-49267 (E.D. Mich. June 30,

2016); see also In re Gulf Air, Inc., 112 B.R. 152 (Bankr. W.D. La. 1989)

(authorizing Debtors-in-possession to pay pre-petition employee wages

and benefits, and health, life, and workers’ compensation insurance

premiums); In re Chateaugay Corp., 80 B.R. 279 (S.D.N.Y. 1987) (affirming

order authorizing Debtors to pay pre-petition wages, salaries, employee

reimbursement expenses and benefits, including payments on workers’


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compensation claims).

        19.        Debtors must also be able to continue to pay the administrative

costs associated with providing Employee Benefits. See, e.g., Allegheny

Intl Inc. v. Metropolitan Life Ins. Co., 145 B.R. 820, 822-23 (W.D. Pa. 1992)

(“It would be useless to prioritize expenses for contributions to an employee

benefit plan and not prioritize the expenses necessary to administer those

plans”).

        20.        The relief requested in the Motion is necessary and should be

authorized under § 105.

        21.        The Employees are vital to the continued operation of Debtors’

businesses and to its successful reorganization.

        22.        Authorization to pay the Unpaid Amounts is necessary to

prevent many of them from suffering personal hardship and to maintain

Debtors’ business as a going concern. Accordingly, the relief requested is

consistent with §§ 105(a), 363(b), and 507(a).

        23.        Debtors are not requesting the assumption of any agreement in

the Motion and, therefore, nothing contained in the Motion constitutes a

request for authority to assume any policy, procedure, or executory

contract that may be described or referenced in the Motion.




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              DEBTORS HAVE SATISFIED FED. R. BANKR. P. 6003

        24.        Bankruptcy Rule 6003 provides that, “to the extent that relief is

necessary to avoid immediate and irreparable harm,” a Bankruptcy Court

may approve a motion to “pay all or part of a claim that arose before the

filing of the petition” within twenty-one days after the Petition Date. Fed. R.

Bankr. P. 6003.

        25.        As described in the Motion, authorization to pay the Unpaid

Amounts is essential to Debtors’ reorganization.

        26.        Accordingly, the relief requested is necessary to avoid

immediate and irreparable harm, and, therefore, Fed. R. Bankr. P. 6003 is

satisfied.

        27.        Due to the immediate and irreparable that would be suffered by

Debtors in the absence of granting the Motion, Debtors submit that this is

not a “Critical Vendor” motion as contemplated by E.D. Mich. LBR 4001-3.




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                                         Respectfully submitted,

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